       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Paul Anthony Chenevert
       v. Commonwealth of Virginia
       Record No. 0028-19-1
       Opinion rendered by Judge Huff on
        April 21, 2020

    2. LaShaunda Tenika Meekins
       v. Commonwealth of Virginia
       Record No. 0459-19-2
       Opinion rendered by Judge O’Brien on
        April 28, 2020

    3. Brent Edward Tanner
       v. Commonwealth of Virginia
       Record No. 1706-18-2
       Opinion rendered by Chief Judge Decker on
        May 5, 2020

    4. Olmedo Alberto Pena Pinedo
       v. Commonwealth of Virginia
       Record No. 0515-19-3
       Opinion rendered by Judge Humphreys on
        May 5, 2020
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Jack Randall Young
    v. Commonwealth of Virginia
   Record No. 0687-18-2
    Opinion rendered by Chief Judge Decker
     on July 30, 2019
    Refused (191121)

2. Kevin Lamont Lambert
   v. Commonwealth of Virginia
   Record No. 0773-18-2
   Opinion rendered by Judge Huff
    on October 15, 2019
   Refused (191534)

3. Samuel Rudolph Joshua Raspberry
   v. Commonwealth of Virginia
   Record No. 0988-18-1
   Opinion rendered by Judge Humphreys
     on October 29, 2019
    Refused (191586)

4. Stanlee Sebastian Jones
   v. Commonwealth of Virginia
   Record No. 0730-18-1
   Opinion rendered by Judge Humphreys
     on November 5, 2019
   Refused (200040)

5. Alex Michael Ramos
   v. Commonwealth of Virginia
   Record No. 1595-18-2
   Opinion rendered by Judge Huff
    on November 12, 2019
   Refused (191675)

6. Adam Christopher Armstrong
   v. Kristy Marie Armstrong
   Record No. 0215-19-3
   Opinion rendered by Judge O’Brien
    on November 12, 2019
   Refused (200061)
7. Willie Hicks, Jr.
   v. Commonwealth of Virginia
   Record No. 1543-18-2
   Opinion rendered by Chief Judge Decker
    on December 3, 2019
   Refused (191728)
       The Supreme Court issued an opinion in the following cases, which had been appealed from
this Court:

    1. Loudoun County
       v. Michael Richardson
       Record No. 1533-18-4
       Opinion by Judge O’Brien on April 16, 2019
       Judgment of Court of Appeals affirmed by opinion rendered on May 7, 2020
       (190621)
